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                       UNITED STATES DISTRICT COURT
                                                                                             Mar 09 2021
                       NORTHERN DISTRICT OF CALIFORNIA
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Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


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